                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

In RE: Maranda Grasley                                      :       Chapter 13
                              Debtor                        :
                                                            :       22-02354
Maranda Grasley,                                            :
                              Objector                      :       Re. Proof of Claims No. 3
v.                                                          :
Midland Credit Management, Inc.                             :
                           Respondent / Claimant            :

                                          Certificate of Service

I served a true and correct copy of the attached motion, exhibits, notice and proposed order to
Counsel for Claimant, Brian C. Nicholas, Esquire, at the following email address.


bnicholas@kmllawgroup.com



/s/ Vicki Piontek                      11-25-2023
_______________________                _______
Vicki Piontek, Esquire                 Date
Attorney for Plaintiff
58 East Front Street
Danville, PA 178821
vicki.piontek@gmail.com
215-290-6444
Fax: 866-408-6735




 Case 5:22-bk-02354-MJC Doc 136-7 Filed 11/25/23 Entered 11/25/23 13:26:12
                    Desc Certificate of Service Page 1 of 1
